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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA

                                                   )
ROBERT F. BACH and DIANE M. BACH,
                                                   )   No. 3:10-cv-00395-BAJ-CN
On Behalf of Themselves and All Others Similarly
                                                   )
Situated,
                                                   )   Hon. Brian A. Jackson
                                                   )   Mag. Judge Christine Noland
                             Plaintiffs,
                                                   )
                                                   )
       v.
                                                   )
                                                   )
AMEDISYS, INC., WILLIAM F. BORNE, and
                                                   )
DALE E. REDMAN,
                                                   )
                                                   )
                             Defendants.
                                                   )
                                                   )
DAVID ISMAN, On Behalf of Himself and All
                                                   )   No. 3:10-cv-00464-BAJ-DLD
Others Similarly Situated,
                                                   )
                                                   )   Hon. Brian A. Jackson
                             Plaintiff,
                                                   )   Mag. Judge Docia L. Dalby
                                                   )
       v.
                                                   )
                                                   )
AMEDISYS, INC., WILLIAM F. BORNE, and
                                                   )
DALE E. REDMAN,
                                                   )
                                                   )
                             Defendants.
                                                   )
(Additional captions on following page)




       RESPONSE OF BALTIMORE COUNTY EMPLOYEES’ RETIREMENT
  SYSTEM TO COMPETING MOTIONS FOR CONSOLIDATION, APPOINTMENT
   AS LEAD PLAINTIFF, AND APPROVAL OF SELECTION OF LEAD COUNSEL
       Case 3:10-cv-00395-BAJ-RLB      Document 27   08/20/10 Page 2 of 5




                                             )
ARIK DVINSKY, On Behalf of Himself and All
                                             )   No. 3:10-cv-00470-JJB-CN
Others Similarly Situated,
                                             )
                                             )   Hon. James J. Brady
                         Plaintiff,
                                             )   Mag. Judge Christine Noland
                                             )
      v.
                                             )
                                             )
AMEDISYS, INC., WILLIAM F. BORNE, DALE
                                             )
E. REDMAN, JOHN F. GIBLIN, and GREGORY
                                             )
H. BROWNE,
                                             )
                                             )
                         Defendants.
                                             )
                                             )
MELVIN W. BRINKLEY, On Behalf of Himself
                                             )   No. 3:10-cv-00497-JJB-CN
and All Others Similarly Situated,
                                             )
                                             )   Hon. James J. Brady
                         Plaintiff,
                                             )   Mag. Judge Christine Noland
                                             )
      v.
                                             )
                                             )
AMEDISYS, INC., WILLIAM F. BORNE, and
                                             )
DALE E. REDMAN,
                                             )
                                             )
                         Defendants.
                                             )
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       Baltimore County Employees’ Retirement System (“Baltimore County”) hereby responds

to the competing motions for consolidation, appointment of lead plaintiff, and approval of

selection of lead counsel, and states as follows:

       On August 9, 2010, Baltimore County moved for consolidation, appointment of lead

plaintiff, and approval of its selection of lead counsel in the above-captioned securities class

actions against Amedisys, Inc. Eight other motions were filed that day, including one by the

Public Employees’ Retirement System of Mississippi (“Mississippi PERS”) and the Puerto Rico

Teachers’ Retirement System (“Puerto Rico TRS”).

       Having reviewed the competing motions, Baltimore County has determined that

Mississippi PERS and Puerto Rico TRS possess the “largest financial interest in the relief sought

by the class,” as required by the Private Securities Litigation Reform Act, and appear to meet the

other requirements for appointment. 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I)(bb). Baltimore County

therefore supports the lead plaintiff motion of Mississippi PERS and Puerto Rico TRS.

       If, for any reason, Mississippi PERS and Puerto Rico TRS’s motion is not granted,

Baltimore County stands ready, willing, and able to represent the Class as lead plaintiff.

Dated: August 20, 2010                              Respectfully submitted,
                                                     /s/ Michael C. Palmintier

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                             Counsel for Baltimore County
                             Employees’ Retirement System and
                             Proposed Lead Counsel for the Class




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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 20, 2010, I electronically filed the foregoing documents

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to the following CM/ECF participants:

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                                                /s/ Michael C. Palmintier

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